    Case 2:87-cr-00571-SVW           Document 2500 Filed 07/01/87                                              Page 1 of 1 Page ID
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                                UN2TED STATES DISZRICT OOURT
                               CII~7I'FtAL DISTRICT OF G~,I~g'ORNIA

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UNITID STATE'S OF AMERICA,                                                                ~~ ~
                  Plaintiff,                                                                  C~,SE NCB                            `

            vs.

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                                                                                    •         • w '71 •'
               ~~
                  Defendant.




           Upon. motion of the (Co        or Government), IT IS ~tDEEtID that a detention hearing
is se for              ~~                               19 .~ ~ , at ~.~~1~ M, before                                         Honorably        /~
                                                                                      n Gurrsoom



           Pending .this hearing, the defendant shall be held in custody by
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                                                                                                                        (the
States :7arshal) (                                                                                         ) and produced for the
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